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                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

In re:                                                    §
                                                          §      Case No. 17-31646
MONTCO OFFSHORE, INC., et al.,1                           §
                                                          §      Chapter 11
         Debtors.                                         §
                                                          §

              LIQUIDATING TRUSTEE’S MOTION FOR SUMMARY JUDGMENT

     THIS MOTION SEEKS ENTRY OF AN ORDER THAT MAY ADVERSELY
     AFFECT YOU. IF YOU OPPOSE THE MOTION, YOU SHOULD IMMEDIATELY
     CONTACT THE MOVING PARTY TO RESOLVE THE DISPUTE. IF YOU AND
     THE MOVING PARTY CANNOT AGREE, YOU MUST FILE A RESPONSE AND
     SEND A COPY TO THE MOVING PARTY. YOU MUST FILE AND SERVE YOUR
     RESPONSE WITHIN 21 DAYS OF THE DATE THIS WAS SERVED ON YOU.
     YOUR RESPONSE MUST STATE WHY THE MOTION SHOULD NOT BE
     GRANTED. IF YOU DO NOT FILE A TIMELY RESPONSE, THE RELIEF MAY
     BE GRANTED WITHOUT FURTHER NOTICE TO YOU. IF YOU OPPOSE THE
     MOTION AND HAVE NOT REACHED AN AGREEMENT, YOU MUST ATTEND
     THE HEARING. UNLESS THE PARTIES AGREE OTHERWISE, THE COURT
     MAY CONSIDER EVIDENCE AT THE HEARING AND MAY DECIDE THE
     MOTION AT THE HEARING.

     REPRESENTED PARTIES SHOULD ACT THROUGH THEIR ATTORNEY

         Drew McManigle, as the Liquidating Trustee (the “Liquidating Trustee”) of the

 Liquidating Trust for the Montco Oilfield Contractors, LLC (“MOC”) estate, files this Motion

 for Summary Judgment (the “Motion”) seeking the disallowance of Proof of Claim No. 213,

 which was filed by Offshore Specialty Fabricators, Inc. (“OSF”) against Montco Offshore, Inc.

 (“MOI”, and collectively with MOC, the “Debtors”), and the reduction of Proof of Claim No.

 214 (collectively with Proof of Claim No. 213, the “Claims”), which was filed by OSF against

 MOI, to $11,080,763.29, and respectfully states:

                                         SUMMARY OF MOTION

         1.       OSF filed Proof of Claim No. 213 on July 28, 2018, which asserts a general
 1
  The Debtors in these chapter 11 cases, along with the last four digits of each Debtors’ federal tax identification
 number, are Montco Offshore, Inc. (1448) and Montco Oilfield Contractors, LLC (9886).
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unsecured claim against MOI for $9,622,888.21. The basis for OSF’s claim is a Master Time

Charter Agreement (the “Charter”) that granted MOC the right to charter certain vessels owned

by OSF. On June 19, 2019, the Liquidating Trustee objected to Proof of Claim No. 213 because

(i) MOI had no contractual obligation to pay OSF and (ii) Proof of Claim No. 213 is duplicative

of Proof of Claim No. 214 filed by OSF against MOC.

       2.      Despite the fact that MOI is not a party to the Charter, OSF asserted in its

Response (as defined below) that both MOC and MOI bear liability under the Charter. OSF’s

contention is incorrect as a matter of law because a reference in an agreement to “interrelated

companies” does not create contractual liability for an entity that is not a party to the agreement.

Because the Response simply pointed to the language in the Charter and did not present any new

factual allegations in response to those asserted by the Liquidating Trustee in the Objection (as

defined below), the Objection is ripe for summary judgment.

       3.      The Liquidating Trustee also seeks an order reducing Proof of Claim No. 214 to

$11,080,763.29 because OSF conceded in its Response that it “agrees with the Montco Trustee

that Claim No. 214 against MOC should be reduced to $11,080,763.29.” Response, ¶¶ 4, 9.

                                JURISDICTION AND VENUE

       4.      This Court has jurisdiction over this matter pursuant to 28 U.S.C. § 1334. This is

a core proceeding within the meaning of 28 U.S.C. § 157(b)(2). Venue is proper pursuant to 28

U.S.C. §§ 1408 and 1409. Under the Amended Plan of Liquidation of Debtor Montco Oilfield

Contractors, LLC Under Chapter 11 of the Bankruptcy Code (the “Plan”), this Court retained

jurisdiction over claim objections.

                                      BACKGROUND

       5.      The Charter was entered into on June 2, 2016, between OSF as the owner and

MOC as the charterer. The Charter is attached as Exhibit A to this Motion. Under the Charter,


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MOC was granted the use of OSF’s derrick barges the William Kallop and the Swing Thompson.

        6.       On March 17, 2017, the Debtors filed voluntary petitions for relief under chapter

11 of the Bankruptcy Code in the United States Bankruptcy Court for the Southern District of

Texas, Houston Division (the “Court”).

        7.       On July 28, 2017, OSF filed Proof of Claim No. 213, which asserts a general

unsecured claim against MOI arising from unpaid invoices of $9,622,888.21 and “a contingent

unliquidated claim against the Debtors for any and all amounts awarded against OSF in Montco

Oilfield Contractors, LLC v. Offshore Specialty Fabricators, LLC, et. al. Adversary Proceeding

No. 17-3248, pending with this Court” (the “Adversary Proceeding”).2

        8.       On January 18, 2018, the Court entered its Findings of Fact, Conclusions of Law,

and Order Approving the Disclosure Statement and Confirming the Amended Plan of

Reorganization of Debtor Montco Offshore, Inc. and the Amended Plan of Liquidation of Debtor

Montco Offshore Contractors, LLC under Chapter 11 of the Bankruptcy Code [Docket No. 784]

(the “Confirmation Order”), which confirmed the Debtors’ Plan. Under Article IV.O.4 of the

Plan, the Liquidating Trustee was vested with the authority to, among other things, review and

object to claims.

        9.       On June 19, 2019, the Liquidating Trustee filed his Objection to Offshore

Specialty Fabricators, LLC’s Proofs of Claim (Claim Nos. 213 and 214) [Docket No. 1043] (the

“Objection”). Subsequently, OSF filed its Response to Liquidating Trustee’s Objection to

Offshore Specialty Fabricators, LLC’s Proofs of Claim (Claim Nos. 213 and 214) [Docket No.

1049] (the “Response”).

                                           LEGAL STANDARD

        10.      An objection to a proof of claim initiates a contested matter between the parties
2
  OSF voluntarily dismissed the Adversary Proceeding on June 6, 2017, after filing a Notice of Voluntary Dismissal
without Prejudice [Case No. 17-03248; Docket No. 35]. Neither OSF nor the Liquidating Trustee has renewed or
refiled a similar adversary proceeding.
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and provides notice that “litigation is required to resolve the objection and to make a final

determination on the allowance or disallowance of the claim.” In re Taylor, 132 F.3d 256, 260

(5th Cir. 1998); see also In re Today’s Destiny, Inc., No. 05-90080, 2008 WL 5479109, at *8

(Bankr. S.D. Tex. Nov. 26, 2008) (“An objection to a proof of claim creates a contested

matter.”). As a contested matter, this dispute is governed by Rule 9014 of the Federal Rules of

Bankruptcy Procedure (the “Bankruptcy Rules”), which incorporates Bankruptcy Rule 7056 and

Rule 56 of the Federal Rules of Civil Procedure. See FED. R. BANKR. P. 9014.

        11.     “The court shall grant summary judgment if the movant shows that there is no

genuine dispute as to any material fact and that the movant is entitled to judgment as a matter of

law.” FED. R. CIV. P. 56(a). To avoid summary judgment, an opposing party must identify a

genuine dispute of material fact—one that could allow a reasonable fact finder to find for the

non-moving party. See, e.g., Gorman v. Verizon Wireless Tex., LLC, 753 F.3d 165, 170 (5th Cir.

2014); In re Ultra Petroleum Corp., 571 B.R. 755, 761 (Bankr. S.D. Tex. 2017). A court must

consider the evidence in the light most favorable to the party opposing summary judgment, but

“conclusory allegations, speculation, and unsubstantiated assertions are inadequate to satisfy the

nonmovant’s burden.” Bargher v. White, 928 F.3d 439, 444 (5th Cir. 2019).

                                          ARGUMENT

        12.     OSF’s sole argument in response to the Liquidating Trustee’s objection to Proof

of Claim No. 213 on the basis that MOI has no contractual liability to OSF is that because the

Charter referenced “interrelated companies,” both MOC and MOI are responsible for satisfying

the payment obligations in the Charter. See Response, ¶ 3.3 However, the only entities that

executed the Charter were MOC and OSF. Accordingly, as a matter of law the Liquidating

Trustee is entitled to a judgment and order disallowing OSF’s claim against MOI in its entirety.

3
  Paragraph 3 of the Response provides in relevant part that “[t]here is no dispute that MOC is a wholly-owned
subsidiary of MOI, making MOC and MOI interrelated. Therefore, MOC and MOI responsible for satisfying the
payments obligations in the Charter.”
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           13.     Under Louisiana law,4 “[t]he mere fact that two corporations are affiliated in

some way (e.g. parent-subsidiary) does not mean that a contract with one of those corporations is

a contract with the other.” Cable & Connector Warehouse, Inc. v. Omnimark, Inc., 700 S.2d

1273, 1276 (La. Ct. App. 1997); see also Coleman v. Halcon Res. Corp., No. CV 6:15-2086,

2017 WL 2509151, at *8 (W.D. La. June 7, 2017) (same); All. Distribution (pty), Ltd. v. Luv N’

Care, Ltd., No. CIV.A. 05-1356, 2006 WL 1476121, at *3 (W.D. La. Mar. 27, 2006) (“Under

Louisiana law, a corporate entity is a juridical person, the personality of which is ‘distinct and

distinguishable from that of its members.’ La. C.C. Art. 24. A corporation remains a legal entity

even though another corporation obtains all of its corporate stock.”).

           14.     In Cable & Connector, W.S. Bellows Construction Company contracted with

Sandoz Group, Inc. (“Sandoz”) to provide supplies for a construction project. 700 S.2d at 1274.

Sandoz purchased the necessary materials from an affiliate named Omnimark, Inc.

(“Omnimark”) who had purchased the materials from Cable & Connector. Id. However, neither

Omnimark nor Sandoz paid Cable & Connector for the materials it provided. Id. Cable &

Connector attempted to hold Sandoz liable for the debt, rather than Omnimark, arguing that

“Omnimark was simply a name under which the Sandoz Group was acting.” Id. at 1276. The

court affirmed the trial court’s award of summary judgment to Sandoz because no contract

existed between Sandoz and Cable & Connector, and Sandoz and Omnimark were two separate

corporations. Id.

           15.     Similarly, in this case the Charter was between OSF and MOC. As in Cable &

Connector, MOC and MOI are separate entities. The fact that MOC entered into the Charter with

OSF cannot bind MOI, as its parent, for the debts of its subsidiary. To hold otherwise would

render corporate separateness meaningless.

           16.     Accordingly, no genuine issue of material fact exists and the Liquidating Trustee
4
    MOI is a Louisiana corporation and MOC is a Louisiana limited liability company.
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is entitled to judgment as a matter of law disallowing OSF’s Claim against MOI.5

                                                     CONCLUSION

          The Liquidating Trustee respectfully requests that the Court grant its Motion and enter

summary judgment in the Liquidating Trustee’s favor and further relief as is appropriate in this

matter.


Dated: December 6, 2019

                                                     PORTER HEDGES LLP

                                                     /s/ Joshua W. Wolfshohl
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                                                     COUNSEL FOR DREW MCMANIGLE,
                                                     LIQUIDATING TRUSTEE FOR THE
                                                     MONTCO OILFIELD CONTRACTORS, LLC
                                                     LIQUIDATING TRUST


                                   CERTIFICATE OF SERVICE

       I certify that on December 6, 2019, I caused a copy of the foregoing document to be
served by the Electronic Case Filing System to all parties appearing in these cases and by first
class mail to Jackson Walker LLP, Attn: Bruce Ruzinsky, 1401 McKinney, 19th Floor, Houston,
TX 77010 and Diamond McCarthy, LLP, Attn: Charles M. Rubio and Michael D. Fritz, Two
Houston Center, 909 Fannin Street, 37th Floor, Houston, TX 77010.


                                                              /s/ Joshua W. Wolfshohl
                                                              Joshua W. Wolfshohl



5
 The Liquidating Trustee reserves all rights with respect to his additional argument that the Claims are duplicative
and the Plan substantively consolidated the Debtors’ estates for purposes of distributions to Class 4 (General
Unsecured Claims).
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